      Case 2:20-cv-00292-RMP     ECF No. 31   filed 01/12/21   PageID.431 Page 1 of 2



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2                                                                          FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON

3
                                                                  Jan 12, 2021
4                                                                     SEAN F. MCAVOY, CLERK




5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     MATT ROBINS, an individual;
      RONALD VICTOR ARTHUN, an                   NO: 2:20-CV-292-RMP
8     individual;
                                                 ORDER OF DISMISSAL WITH
9                              Plaintiffs,       PREJUDICE

10          v.

11    NEXUS SURGICAL
      INNOVATIONS, INC., a
12    Washington State corporation; and
      NUVASIVE, INC.,
13
                               Defendants.
14

15         BEFORE THE COURT is the parties’ Joint Motion to Dismiss with Prejudice,

16   ECF No. 30. The Court has considered the motion, the record, and is fully informed.

17         Accordingly, IT IS HEREBY ORDERED:

18         1.    The parties’ Joint Motion to Dismiss with Prejudice, ECF No. 30, is

19   GRANTED.

20         2.    This consolidated matter and all claims asserted herein are hereby

21   DISMISSED with prejudice, without an award of costs or fees to any party.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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1          3.     All pending motions, if any, are DENIED AS MOOT.

2          4.     All scheduled court hearings, if any, are STRICKEN.

3          IT IS SO ORDERED. The District Court Clerk is directed to enter this

4    Order, provide copies to counsel, and close this case.

5          DATED January 12, 2021.

6
                                                s/ Rosanna Malouf Peterson
7                                            ROSANNA MALOUF PETERSON
                                                United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
